          Case 1:22-cv-00881-JLC Document 21 Filed 03/02/22 Page 1 of 1




 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK

 FREE HOLDINGS INC.,
                                                               Index No. 1:22-cv-00881 (LGS)
                        Plaintiff,

            -against-                                          MOTION FOR ADMISSION
                                                               PRO HAC VICE OF
 KEVIN McCOY, SOTHEBY’S INC., NAMELESS                         MICHAEL J. GERSHONI
 CORPORATION, and ALEX AMSEL A/K/A
 SILLYTUNA,

                        Defendants.


       Pursuant to Rule 1.3 of the Local Rules of the United States District Courts for the Southern

and Eastern Districts of New York, Michael J. Gershoni hereby moves this Court for an Order for

admission to practice pro hac vice to appear as counsel for Defendant, Sotheby’s Inc. in the above-

captioned action.

       I am in good standing of the bars of the State of California and the District of Columbia,

and there are no pending disciplinary proceedings against me in any state or federal court. I have

never been convicted of a felony. I have never been censured, suspended, disbarred, or denied

admission or readmission by any court. I have attached the affidavit pursuant to Local Rule 1.3.


Dated: March 2, 2022                         Respectfully submitted,

                                             /s/ Michael J. Gershoni
                                             Michael J. Gershoni
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